 Case 3:15-cv-01583-DMS-WVG Document 253 Filed 06/30/20 PageID.9238 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11   THE ESTATE OF KEVIN BROWN, et                      Case No.: 15-CV-1583-DMS-WVG
     al.,
12
                                      Plaintiffs,       ORDER ON DEFENDANTS’
13                                                      MOTION TO FILE DOCUMENTS
     v.                                                 UNDER SEAL
14
     MICHAEL LAMBERT, et al.,
15
                                    Defendants.
16
17
18
19         On Friday, June 26, 2020, Defendants filed a Motion to File Documents Under
20   Seal (Doc. No. 251) in connection with their Response to Plaintiffs’ Supplemental
21   Briefing (Doc. No. 250), pursuant to the Court’s June 23, 2020 Order Following Video
22   Discovery Conference (Doc. No. 247). Having reviewed and considered Defendants’
23   Motion to Seal, the Court hereby GRANTS Defendants’ Motion. The Court ORDERS
24   Defendants to provide a courtesy copy of the sealed document (Doc. No. 252)
25   ///
26   ///
27   ///
28   ///

                                                    1
                                                                           15-CV-1583-DMS-WVG
 Case 3:15-cv-01583-DMS-WVG Document 253 Filed 06/30/20 PageID.9239 Page 2 of 2



 1   to this Court’s Chambers no later than 2:00 p.m. on Wednesday, July 1, 2020.
 2         IT IS SO ORDERED.
 3   Dated: June 30, 2020
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                              2
                                                                        15-CV-1583-DMS-WVG
